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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS                       "-8 AM }[: 27

                                                                       J.-S.D!STRiCT COURT
UNITED STATES OF AMERICA                                                DISTRICT OF HASS.
       V.                                   GRIM. NO. 16-CR-10305-NMG


MARTIN GOTTESFELD



              DEFENDANT MARTIN GOTTESFELD'S MOTION TO DISMISS
            HIS INDICTMENT FOR VIOLATIONS OF THE SPEEDY TRIAL ACT
                AND THE SPEEDY TRIAL CLAUSE OF THE CONSTITUTION



       Defendant Martin Gottesfeld ("Mr. Gottesfeld") hereby moves this Honorable Court for

an order dismissing the Indictment herein with prejudice for violations of The Speedy Trial Act,

18 U.S.C. §3161 and §3162, and the Speedy Trial Clause of the Sixth Amendment of the

Constitution.


                                       BACKGROUND


       Martin Gottesfeld is the rare defendant that can assert violations of the Due Process


Clause and the Speedy Trial Clause of the Constitution, as well as multiple violations of the

Speedy Trial Act under 18 U.S.C. §3161. In fact, in the over two years that he has been detained

against his will and deprived of his liberty, his Docket has over 100 entries but nowhere are the

words "Speedy Trial" or "Due Process" mentioned. Because he was arrested in Florida and then

shipped to Oklahoma, Brooklyn, and then the Wyatt Detention Facility in Rhode Island, and then

back to Manhattan and finally to Plymouth County Correctional Facility, he has clearly exceeded

the 9-day violation in Bloate v. United States, 559 U.S. 196 (2010) and the 10-day violation in

United States v. Tinklenberg, 131 S. Ct. 2007 (2011), which was all travel days that are not

excluded.    In the first case in the First Circuit after Bloate, the Speedy Trial Act ("STA")



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violation in United States v. Huete-Sandoval, 668 F.3d 1 (1st Cir. 2011) was only 16 days and

required dismissal of the Indictment. At dispute in Huete-Sandoval was a mere 16 day period

between July 22 and August 7, 2009, where some pre-trial briefing was argued over as to what

was either excludable or non-excludable time under the new rules in Bloate.


       Particularly instructive in Mr. Gottesfeld's case are two cases from the District of Puerto

Rico, United States v. Reina-Del Rosario, 2017 WL 6547853 (D.P.R. 2017) and United States v.

Irizarry-Colon, 268 F.Supp.3d 324 (D.P.R. 2017), both of which were dismissed with

prejudice. Thermo Julio Reina-Del Rosario was arrested on August 25, 2017 in Puerto Rico for

violation of 8 U.S.C. §1326(a). Unlike Mr. Gottesfeld, Reina-Del Rosario was granted

bail. However, he was not released but was instead transferred to Mississippi due to Hurricane

Maria. Reina was not indicted until October 11, 2017. After being granted release, Reina was

taken into custody by ICE and as of December 21, 2017, he had not been arraigned. On

December 6, 2017 Reina moved to dismiss based on a Speedy Trial Act violation. The Court in

Reina-Del Rosario went on to say:

       "The STA calls for indictment no later than thirty days after arrest." United States v.
       Souza, 749 F.3d 74, 79 (1st Cir. 2014) (citing 18 U.S.C. §3161(b)). Here, Defendant was
       indicted on October 11, 2017, forty-eight days after his arrest on August 25, 2017.
       Because no exclusions apply in this case, this was a clear violation of the STA and
       Defendant's claim must be dismissed. See 18 U.S.C.A. §3162(a)(1).

       To determine whether to dismiss the case with or without prejudice, "the court shall
       consider, among others, each of the following factors: the seriousness of the offense; the
       facts and circumstances of the case which led to the dismissal; and the impact of a
       reprosecution on the administration of this chapter and on the administration of justice."
       18U.S.C.A. §3162(a)(l).

       This is a case of simple illegal reentry. See 8 U.S.C. §1326(a). The punishment would
       likely have been for less time than Defendant has already spent in detention. The reasons
       for the delay rest squarely on the shoulders of the government. There is nothing to
       indicate that Defendant or his counsel played a part in holding up the process. Whether
       BOP, ICE, or even a court itself causes the delay, the outcome is effectively the same.
       See UnitedStates v. Rivas, 782 F.Supp. 686, 687 (D. Me.), affd sub nom. UnitedStates v.
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       Ramirez, 973 F.2d 36 (1st Cir. 1992). There is only one federal government, and ICE's
       actions unfortunately affect prosecutors. Where the violation of the STA is attributable to
       the prosecution, or even the court, "the allowance of reprosecution of defendant[ ] for the
       charged offense [ ] would completely negate the beneficent purposes intended to be
       accomplished by the Act in insuring timely trial of defendants, especially those
       incarcerated pending trial as w[as] th[is] defendant[ ]." Rivas, 782 F.Supp. at 687. In
       consideration of the above, this case is DISMISSED with prejudice. Reina at 1.

       Because Mr. Gottesfeld was arrested on February 17, 2016 (Dkt. #5) and his initial

appearance was not until April 6, 2016 (Dkt. #13), he has two STA violations because he was

finally indicted on October 19, 2016 (Dkt. #28), and he has not been brought to trial now almost

two years after his Initial Appearance.      Therefore, his Indictment should immediately be

dismissed with prejudice.

       In Mr. Gottesfeld's case, he was arrested on February 17, 2016, and no mention is made

anywhere of "excludable time" until Dkt. No. 39 of November 2, 2016, which excludes the time

from October 26 until November 28, 2016.          Docket 49 dated December 6, 2016 does the

unlawful and illegitimate retroactive "backdating" of excludable time to exclude the dates

October 19 until October 26, 2016, but there is absolutely no exclusion of time from February

17, 2016 until the illegitimate exclusion of October 19, 2016. This is clear-cut error on the part

of the Magistrate, and Mr. Gottesfeld was also held without an indictment for more than 30 days.

But, the other violations of the Speedy Trial Act, the Speedy Trial Clause, and the Due Process

Clause under the Supreme Court's decision in Betterman v. Montana, 136 S.Ct. 1609 (2016) are

so blatant, that the only decision for this Court to make is whether to dismiss the indictment with

or without prejudice. See the recent decision by the District Court in UnitedStates v. Irizarry-

Colon, 2017 WL 3278949 (D. Puerto Rico 2017). Even in Betterman, where the delay was only

14 months and the defendant pleaded guilty. Justice Sotomayor suggested that the Barker v.

Wingo, 407 U.S. 514 (1972) factors should be used for a Due Process delay just as for a Speedy
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Trial delay: (1) the "[l]ength of the delay"; (2) "the reason for the delay"; (3) "the defendant's

assertion of his right"; and (4) "prejudice to the defendant." Betterman at 1619, quoting Barker

at 530.


          Therefore, because the extraordinary delay in this case is more than a year, it is virtually

all the government's fault because they refused to release Mr. Gottesfeld, and because he has

been prejudiced in not being able to present his "best defense" as guaranteed by the Constitution,

this Court must dismiss the Indictment. See United States v. Irizarry-Colon, 848 F.3d 61 (1st

Cir. 2017). It is respectfully submitted that the dismissal of the Indictment should be with

prejudice because Mr. Gottesfeld has already been deprived of his liberty for almost two years

for a non-crime. Suffice it to say, Mr. Gottesfeld is living the Founders' worst nightmare, and is

accused of a crime that no Founder could ever have imagined considering the breadth of the First

and Ninth Amendments of the Constitution.

   I.        MR. GOTTESFELD'S RIGHT TO A SPEEDY TRIAL HAS CLEARLY BEEN
             VIOLATED


          The Supreme Court vacated convictions in Bloate and Tinklenberg for STA violations of

only 9 or 10 days. In Mr. Gottesfeld's case there are several violations of more than 70 days. As

previously stated, the STA violation in Huete-Sandoval was only 16 days, and required the

dismissal of the indictment. The First Circuit in Huete-Sandoval described many of the changes

that have happened during the past decade as to the interpretation of the Speedy Trial Act and

Speedy trial violations.

          During this entire time period Mr. Gottesfeld was an example of not only the Founders'

worst fears in creating the Sixth Amendment, but also the fears as viewed by Congress in

passing the Speedy Trial Act that the "interests-of-justice" exclusions of time in this case are

invalid because they fail the Zedner v. United States, 547 U.S. 489 (2006) balancing test which
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was not done, and the reasons for the delay were not put on the record as required by 18 U.S.C.

§3161. If the district court "fails to make the requisite finding regarding the need for an ends-of-

justice continuance, the delay resulting from the continuance must be counted, and if as a result

the trial does not begin on time, the indictment or information must be dismissed." See, e.g.,

United States v. Ramirez, 788 F.3d 732, 738 (7th Cir. 2015) (citing Zedner at 508).

         As the Supreme Court recognized in Zedner, the built-in flexibility of the ends of justice

continuance has the potential to "get out of hand," so "procedural strictness" is necessary to

counteract that danger. Ramirez at *8. That procedural strictness requires on-the-record findings

that sufficiently identify the factors that were considered in making an ends of justice

continuance. See United States v. Crawford, 982 F.2d 199, 204 (6th Cir. 1993). A judge may not

"grant an 'ends of justice' continuance nunc pro tune, providing after the fact justification for

imauthorized delays." United States v. Janik, 723 F.2d 537, 545 (7th Cir. 1983). If none of the

"interests-of-justice" exclusions are counted, then Mr. Gottesfeld will have a Speedy Trial Act

violation of over 600 days, or multiple Speedy Trial Act violations of more than the one day in

United States v. Dezeler, 81 F.3d 86 (8th Cir. 1996) and the 16 days in Huete-Sandoval. In fact,

the defendant in Irizarry-Colon had his indictment dismissed four times, and ultimately had his

indictment dismissed with prejudice for STA violations not as severe as in Mr. Gottesfeld's case.

   II.      ALL FOUR BARKER v. WINGO                  FACTORS FAVOR DISMISSING MR.
            GOTTESFELD'S INDICTMENT

         The Supreme Court's recent decision in Betterman established that there was no "Speedy

Sentencing" right in the Speedy Trial Clause of the Constitution, but Justice Sotomayor

suggested in her opinion that the standard for "Due Process delay" in sentencing should be the

familiar Barker factors: (1) the "[Ijength of the delay"; (2) "the reason for the delay"; (3) "the

defendant's assertion of his right"; and (4) "prejudice to the defendant" used for a Speedy Trial
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delay analysis. See, e.g., Irizarry-Colon at 67, citing Barker at 530. A delay of one year or more

crosses the threshold and triggers the analysis of the remaining Barker factors, but no one factor

is determinative; rather, they are related factors which must be considered together with such

other circumstances as may be relevant. In Mr. Gottesfeld's case, all four factors point to a

dismissal of the Indictment with prejudice.

   III.      THE     FIRST    CIRCUIT'S       DECISION      IN    IRIZARRY-COLON          IN   2017
             REQUIRES THE DISMISSAL OF MR. GOTTESFELD'S INDICTMENT

          There is no denying that "substantial prejudice" that has resulted from the delay in this

case is, in fact, presumptively prejudicial. Prejudice "should be assessed in the light of the

interests of defendants which the speedy trial right was designed to protect," of which there are

three: "(i) to prevent oppressive pretrial incarceration; (ii) to minimize anxiety and concern of the

accused; and (iii) to limit the possibility that the defense will be impaired." Barker at 532. As

stated in Barker, the effect delay has on a defendant's ability to mount a defense is "the most

serious" of the interests protected by the right, as "the inability of a defendant adequately to

prepare his case skews the fairness of the entire system." Barker at 532. The other three Barker

prongs clearly favor Mr. Gottesfeld, so that his Indictment should be dismissed forthwith with

prejudice in the interests of justice. Once the delay is over two years, it should be deemed

"presumptive prejudice." See Judge Lipez's decision in the Third Circuit case of UnitedStates

V. Velazquez, 749 F.3d 161 (3d Cir. 2014).

          In Irizarry-Colon, the First Circuit reversed the defendant's conviction on Due Process

and Speedy Trial grounds in February of 2017 and the District Court in Puerto Rico dismissed

his indictment in August 2017 citing that all four Barker factors weighed in his favor.

Respectfully, the same can be said about Mr. Gottesfeld, but Mr. Gottesfeld is basingthis Motion

on the concept of "presumptive prejudice" so that what happened to Mr. Gottesfeld does not
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happen to anyone else in America again. Mr. Gottesfeld respectfully submits to the Court that he

was a victim of pre-indictment delay. Constitutional Speedy Trial delay, §3161 Speedy Trial

delay, and Betterman Due Process delay caused by the government. Moreover, the prejudice in

this case is palpable. In the Supreme Court's unanimous decision in Moore v. Arizona, 414 U.S.

25 (1973), the "speedy trial" delay was only 28 months, and Rocky Moore was a convicted killer

in a California prison, yet this was what the Supreme Court had to say in Moore:

       Moreover, prejudice to a defendant caused by delay in bringing him to trial is not
       confined to the possible prejudice to his defense in those proceedings. Inordinate delay,
       "wholly aside firom possible prejudice to a defense on the merits, may 'seriously interfere
       with the defendant's liberty, whether he is fi-ee on bail or not, and . . . may disrupt his
       employment, drain his financial resources, curtail his associations, subject him to public
       obloquy, and create anxiety in him, his family and his fiiends.' These factors are more
       serious for some than for others, but they are inevitably present in every case to some
       extent, for every defendant will either be incarcerated pending trial or on bail subject to
       substantial restrictions on his liberty." Moore at 27, citing United States v. Marion, 404
       U.S. 307, 320-21 (1971).

       Furthermore, Moore goes on to say citing Strunk v. United States, 412 U.S. 434 (1973)

that "...no court should overlook the possible impact pending charges might have on [a

defendant's] prospects for parole and meaningful rehabilitation." Strunk at 439. So the analysis

is not how Mr. Gottesfeld might compare against Rocky Moore, who was a convicted murderer

already in prison in California, but how he compares to normal "unindicted" citizens, and his

"family and friends." As the Supreme Court also states in Moore:

       Barker v. Wingo expressly rejected the notion that an affirmative demonstration of
       prejudice was necessary to prove a denial of the constitutional right to a speedy trial: "We
       regard none of the four factors identified above [length of delay, reason for delay,
       defendant's assertion of his right, and prejudice to the defendant] as either a necessary or
       sufficient condition to the finding of a deprivation of the right of speedy trial. Rather,
       they are related factors and must be considered together with such other circumstances as
       may be relevant. In sum, these factors have no talismanic qualities; courts must still
       engage in a difficult and sensitive balancing process. But, because we are dealing with a
       fundamental right of the accused, this process must be carried out with full recognition
       that the accused's interest in a speedy trial is specifically affirmed in the Constitution."
       407 U.S. at 533 (footnote omitted). Moore at 26 (internal citations omitted).
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       Judge Lipez's Opinion for the Third Circuit in United States v. Velazquez, 749 F.3d 161

(3d Cir. 2014) is also instructive for the "presumptive prejudice" found in this case. In vacating

Velazquez's conviction and sentence for violations of the Sixth Amendment Speedy Trial

Clause, Judge Lipez discussed the second of the Barker v. Wingo factors: who exactly is

responsible for the delay, which is the "flag that all litigants seek to capture," citing UnitedStates

V. Loud Hawk, 474 U.S. 302, 315 (1986).          Judge Lipez also refers to the Supreme Court's

decision in Doggett v. United States, 505 U.S. 647 (1992), which describes the range of the

government delay as extending from "reasonable diligence" to "bad-faith" delay. Doggett at 656.

In the next paragraph of Velazquez, Judge Lipez writes:

       "Negligence over a sufficiently long period can establish a general presumption that the
       defendant's ability to present a defense is impaired, meaning that a defendant can prevail
       on his claim despite not having shown specific prejudice. See Doggett at 658 (finding a
       speedy trial violation based on general prejudice where government's negligence led to
       six-year delay). This general presumption applies because "impairment of one's defense
       is the most difficult form of speedy trial prejudice to prove because time's erosion of
       exculpatory evidence and testimony 'can rarely be shown." Id. at 655 {quoting Barker,
       407 U.S. at 532). "Thus, we generally have to recognize that excessive delay
       presumptively compromises the reliability of a trial in ways that neither party can prove
       or, for that matter, identify." Doggett at 655.

       In other words. Judge Lipez describes exactly what happened in Mr. Gottesfeld's

case. The theory of "presumptive prejudice" means that the extended delay in this case satisfies

all four Barker prongs. "[T]o trigger a speedy trial analysis, an accused must allege that the

interval between accusation and trial has crossed the threshold dividing ordinary from

'presumptively prejudicial' delay...." Doggett at 651-52. Delays exceeding one year are generally

found to be "presumptively prejudicial." Doggett at 652 n.l. If, after the threshold inquiry is

satisfied and the second and third factor are considered, all three of these factors weigh heavily

against the government, the defendant need not show actual prejudice (the fourth factor) to

succeed in showing a violation of his right to a speedy trial. Doggett at 647. But, once again, Mr.

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Gottesfeld can easily prove his ability to merit his best defense is being impaired due to his

length pre-trial incarceration.

       In United States v. Ferreira, 665 F.2d 701, 707 (6th Cir. 2011), the Sixth Circuit

observed that in a prior decision, Dixon v. White, 210 Fed. Appx. 498, 499 (6th Cir. 2007), the

court held that a three-and-a-half-year delay necessitates a finding of presumptive prejudice is in

keeping with decisions from two of our sister circuits." See United States v. Erenas-Luna, 560

F.3d 772, 780 (8th Cir. 2009) (Eighth Circuit applying Doggett and concluding that a three-year

delay between indictment and arraignment caused by "the serious negligence of the government"

was excessive enough to trigger a presumption of prejudice); UnitedStates v. Ingram, 446 F.3d

1332, 1339 (11th Cir. 2006) (Eleventh Circuit holding that a two-year, post-indictment delay

caused by egregious government negligence allowedthe court to presume prejudice in the fourth

Barker prong). This case is also similar to the facts of Dixon, where the Sixth Circuit correctly

reversed the lower court's judgment due to the 3.5 year delay in the case being mostly

attributable to the government. As the Sixth Circuit stated:

       "This case is materially indistinguishable from Doggett with respect to the four relevant
       speedy-trial inquiries, namely 'whether delay before trial was uncommonly long, whether
       the government or the criminal defendant is more to blame for the delay, whether, in due
       course, the defendant asserted his right to a speedy trial, and whether he suffered
       prejudice as the delay's result.' Id. at 651. First, although the three-and-a-half-year delay
       in this case is less than the eight-and-a-half-year delay in Doggett, it is still uncommonly
       long. Second, as in Doggett, the state is more to blame for the delay. Third, Dixon, like
       Doggett, raised his rightto a speedy trial, and, fourth, like Doggett, couldnot show actual
       prejudice from the delay." Dixon, 210 Fed. Appx. 498 at 502.

        Moreover, the STA Clock violations in this case are not a close call, but the violation

between February 17 and October 26, 2016 results in a clear violation based on the statute and

relevant case law. However, any STA violation requires dismissal. See United States v. Dezeler,
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81 F.3d 86 (8th Cir. 1996) (reversing conviction and dismissing due to 71 days). See, also,

Huete-Sandoval and Irizarry-Colon.

       An excellent case directly on point to the two-year delay in this case is United States v.

Ingram, 446 F.3d 1332 (11th Cir. 2006), where the defendant was indicted on October 25, 2002,

but was not arrested or incarcerated until August 3, 2004.        Ingram moved to dismiss the

indictment on September 30, 2004, which was denied by the District Court based on the

Magistrate's recommendation. The trial commenced on November 4, 2004 and Ingram was

found guilty on November 9, 2004. The two-year timeframe in Ingram is almost exactly like this

case, except the defendant in Ingram was not incarcerated until after his trial. The Eleventh

Circuit vacated Ingram's conviction based on the theory of presumptive prejudice:

       Delays exceeding one year are generally found to be "presumptively prejudicial."
       Doggett at 652 n. 1; see also Clark, 83 F.3d at 1352. If, after the threshold inquiry is
       satisfied and the second and third factor are considered, all three of these factors weigh
       heavily against the Government, the defendant need not show actual prejudice (the fourth
       factor) to succeed in showing a violation of his right to a speedy trial. Doggett at 647....
       The first three Barker factors all weigh heavily against the Government. Thus, Ingram
       need not demonstrate actual prejudice resulting from the delay. The indictment must be
       dismissed. Ingram at 1336, 1340.

       Therefore, Mr. Gottesfeld respectfully asks this Court to dismiss his Indictment based on

the Due Process and Speedy Trial implications of this case due to the delay from Mr.

Gottesfeld's arrest in this case, to the date of this brief, with virtually all of this delay being

attributable to the government.




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   IV.      THE INDICTMENT SHOULD BE DISMISSED WITH PREJUDICE


         The Act is unequivocal: §3162(a)(1) plainly states that, 'Tf...no indictment or

information is filed within the time limit required by section 3161(b) as extended by 3161(h) of

this chapter, such charge against that individual contained in such complaint shall be dismissed

or otherwise dropped." Id. {italics supplied).

         Not just because he has already spent two years in abysmal conditions and prevented

from preparing his best defense, Mr. Gottesfeld's indictment should be dismissed with prejudice.

As stated previously, Mr. Gottesfeld is guaranteed by the Constitution a trial that is fair, speedy,

and public. To date, the government has prevented Mr. Gottesfeld from having any of these

constitutional guarantees. A criminal defendant has a constitutional right under the Sixth

Amendment's Compulsory Process and Confrontation Clauses and the Fifth and Fourteenth

Amendment's Due Process Clause to "a meaningful opportunity to present a complete

defense." Crawe v. Kentucky, A16 U.S. 683, 690 (1986). "Indeed, '[f]ew rights are more

fundamental than that of an accused to present witnesses in his own defense.'"                 460

F.3d at 243 {quoting Chambers v. Mississippi,         U.S. 284, 302 (1973)). At Plymouth, it is

virtually impossible for Mr. Gottesfeld to communicate with his attorney or gather witnesses or

evidence to put on his best defense.

         Moreover, the delays in this case are not just unconstitutional delays, they are specific

violations of the Speedy Trial Act. See, e.g.. United States v. Fawster, 2013 WL 4047120 (D.RI.

2013), where the District Court of Rhode Island dismissed an indictment with prejudice because

the government did not indict the defendant within 30 days of his arrest as required by 18 U.S.C.

§3161(b):

         The Speedy Trial Act requires that an indictment or information must be filed within
         thirty days from the date when an individual was arrested. 18 U.S.C. §3161(b). It further

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          mandates that trial shall commence within seventy days of the filing date (and making
          public) of the information or indictment, or from the date on which the defendant has
          appeared before a judicial officer of the court in which the charge is pending, whichever
          date occurs last. Id. §3161(c)(1). Here Defendant was arrested and charged with a Class
          A misdemeanor on December 14, 2012; therefore, the Speedy Trial Act required the
          government to file either an information or indictment within thirty days, by January 14,
          2013. Defendant did not waive his right to a speedy trial. By the time he requested and
          received a thirty-day delay of trial by motion filed on March 22, 2013, the deadline for
          the filing of an indictment or information had already long since passed. Indeed, as of the
          date of the hearing on the Court's order to show cause (August 6, 2013), nothing has
          happened to move this case closer to trial. Fawster at *2.

          In Mr. Gottesfeld's case, he was arrested on February 17, 2016 but not indicted until

October 19, 2016 (see Doc. 28). Therefore, violation of the Speedy Trial Act (several times in

this case) requires that the indictment be dismissed. The only question is "with" or "without"

prejudice. See Huete-Sandoval at 7, and n. 9. It is respectfully submitted to the Court that it

must consider the three factors:


          (1) the seriousness of the offense;
          (2) the facts and circumstances of the case which led to the dismissal; and
          (3) the impact of a reprosecution on the administration of the Speedy Trial Act and on the
          administration ofjustice. 18 U.S.C. §3162(a)(1).

          The choice of whether to dismiss with or without prejudice depends on a careful
          application of the statutorily enumerated factors to the particular case; "there is no
          presumption in favor of either sanction." Huete-Sandoval at 7 n. 9. The lack of
          seriousness of Defendant's offense augers in favor of dismissal with prejudice. Fawster at
          *4.


          Because the delay in this case has been extraordinary and Mr. Gottesfeld has been

deprived of his liberty for a questionable alleged act that is debatable as a crime even by modem

standards (he did not steal, sell dmgs, or kill anyone), all three factors favor dismissal with

prejudice. But more than this, as the Judge said in Fawster, "he has been punished enough" and

this Court should take into account the same thoughts that the court in Fawster did when it

stated:




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       These consequences, exacerbated by the delay, have resulted in an adverse impact on
       Defendant that likely exceeds the consequences that would have been imposed had this
       matter proceeded to trial and a verdict of guilty been rendered. Such adverse impact is a
       factor tipping in favor of dismissal with prejudice. "The longer the delay, the greater the
       presumptive or actual prejudice to the defendant, in terms of his ability to prepare for trial
       or the restrictions on his liberty ... whether he is free on bail or not, [the delay] may
       disrupt his employment, drain his financial resources, curtail his associations, subject him
       to public obloquy, and create anxiety in him, his family and his friends." United States v.
       Taylor, 487 U.S. 326, 340 (1988); see Montecalvo, 861 F.Supp.2d at 120. When the delay
       leaves the defendant in the disadvantageous position of charged but untried for an
       extended period, the circumstances tip toward dismissal with prejudice. United States v.
       Giambrone, 920 F.2d 176, 182 (2d Cir. 1990) (where defendant indicted but untried for
       more than a year, dismissal with prejudice affirmed). Fawster at *4.




                                         CONCLUSION


       Therefore, due to the numerous violations of the Speedy Trial Act and the Speedy Trial

and Due Process Clauses of the Constitution, this Court should dismiss Mr. Gottesfeld's

Indictment with prejudice.

                                                             Respectfully submitted,

                                                             /s/ Martin Gottesfeld
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